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     Attorney for XOCHITL SANDOVAL,
 5   Defendant
 6
 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   )    No. 2:08-CR-00093-KJM
                                                 )
12                           Plaintiff,          )
                                                 )    APPLICATION FOR ORDER FOR
13         v.                                    )    TRANSPORTATION (PER DIEM
                                                 )    ONLY)
14   XOCHITL SANDOVAL and OMAR                   )          18 U.S.C. §4285
     SANDOVAL,                                   )
15                                               )
                          Defendants.            )
16                                               )
                                                 )
17
18
           Defendants XOCHITL SANDOVAL and OMAR SANDOVAL, by and through their counsel,
19
     hereby apply to this Court for an order for subsistence allowance, as follows:
20
           1. Defendants Omar and Xochitl Sandoval are husband and wife, both are indigent and
21
     have been appointed counsel. Both plan to change pleas on March 20, 2013, at the time now
22
     calendared for trial confirmation and motion hearing in this matter.
23
           2. The Sandovals reside in Los Angeles. They plan to travel in their own automobile to
24
     Sacramento together on Sunday, March 17, 2013, meet and confer with their attorneys on the
25
     following Monday and Tuesday, and then appear in court on Wednesday, March 20 at 9:00 a.m.
26
     They cannot afford lodging and other subsistence expenses for their trip to and stay in
27
     Sacramento.
28
                                                      ///

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 1            3. The Sandovals do not request that air fare or travel arrangements be provided to
 2   them, at considerable cost savings to the Government.
 3            4. Accordingly, pursuant to 18 U.S.C. Section 4285, it is requested that this Court direct
 4   the United States Marshal to furnish each of defendants Omar and Xochitl Sandoval with an
 5   amount of money for subsistence expenses, not to exceed the amount authorized as per diem
 6   allowance for travel under Title 5 U.S.C. Sections 4702(a).
 7
 8                                                      Respectfully submitted,
 9
10   Dated:     March 13, 2013                          /s/ Candace A. Fry
                                                        CANDACE A. FRY, Attorney for
11                                                      XOCHITL SANDOVAL, Defendant
12
     Dated:     March 13, 2013                          /s/ Candace A. Fry for
13                                                      MICHAEL B. BIGELOW, Attorney for
                                                        OMAR SANDOVAL, Defendant
14
15
16                                                  ORDER
17
18   TO: UNITED STATES MARSHAL, EASTERN DISTRICT OF CALIFORNIA
19            Good cause appearing and in the interests of justice,
20            IT IS HEREBY ORDERED:
21            That the United States Marshal for the Eastern District of California is authorized and
22   directed to furnish each of the above-named defendants, Omar Sandoval and Xochitl Sandoval,
23   with subsistence for the period from March 17, 2013 through date of their court appearance on
24   March 20, 2013, not to exceed the amount authorized as a per diem allowance for travel under
25   Title 5 U.S.C. Section 5702(a).
26
27   Dated: March 13, 2013.
                                                 ALLISON CLAIRE
28                                               UNITED STATES MAGISTRATE JUDGE


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